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WA/WD PTS-Warrant

(01/|5)

UNITED STATEs DISTRICT CoURT

for
Westem District of Washington

Petition for Warrant for Defendant Under Pretrial Services Supervision

 

 

 

 

Name of Defendant Date

Rezakhani, Maziar May 2, 2016

Name of Judicial Ojicer Case Number

The Honorable Mary Alice Theiler, 2:15-CR-00395-JLR-1
United States Magistrate Judge

Original Ofense Date Supervision Commem:ed
Bank Fraud October 6, 2015

 

 

 

Bond Conditions Imposed:

Submit to drug and alcohol testing, to include urinalysis, breathalyzer, or hand-held devices, as directed
by Pretrial Services. You shall not use, consume or possess alcohol or any other product containing
alcohol, including medication, unless prescribed to you by a physician and under the direction of
Pretrial Services. Obtain an alcohol/substance abuse evaluation and follow any treatment
recommendations as directed by Pretrial Services.

Travel is restricted to the Westem District of Washington, or as directed by Pretrial Services.

The defendant shall participate in the location monitoring program with Active Global Positioning
Satellite technology. The defendant shall comply with a curfew as directed by the location monitoring
specialist. The defendant shall abide by all program requirements, and must contribute towards the
costs of the services, to the extent financially able, as determined by the location monitoring specialist.
The location monitoring specialist will coordinate the defendant's release with the U.S. Marshals.

Surrender all current and expired passports and travel documents to the court. Do not apply for/obtain a
new passport or travel document from any country without permission of the court. If the surrendered
passport is a foreign passport, it shall be forwarded to Immigration and Customs Enforcement if
defendant is convicted of an of`fense, unless otherwise ordered by the Court.

Provide Pretrial Services with any requested information regarding your financial status, income
sources, and investments Sign a Release of lnformation form for Credit Bureau Verification if
requested by Pretrial Services. Defendant shall maintain a single financial account for all financial
transactions and will not apply for any new lines of credit unless approved by Pretrial Services.

Maintain employment, or, if unemployed, actively seek employment as directed by Pretrial Services.

You must contribute towards the costs of the services required by this bond, to the extent you are
financially able to do so, as determined by Pretrial Services.

MODIFICATION on October 15, 2015:

Other: Apply for a non-enhanced Washington state driver’s license and provide proof to Pretrial

Services.

 

 

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MODIFICATION on October 26, 2015:

Removed

Added

The defendant shall participate in the location monitoring program with Active Global Positioning
Satellite technology. The defendant shall comply with a curfew as directed by the location monitoring
specialist. The defendant shall abide by all program requirements, and must contribute towards the
costs of the services, to the extent financially able, as determined by the location monitoring specialist.

The defendant shall participate in the location monitoring program with Active Global Positioning
Satellite technology. The defendant is restricted to his/her residence at all times except for
employment, religious services, medical, legal reasons, or as otherwise approved by the location
monitoring specialist. The defendant shall abide by all program requirements, and must contribute
towards the costs of the services, to the extent financially able, as determined by the location
monitoring specialist. The location monitoring specialist will coordinate the defendant's release
with the U.S. Marshals.

MODIFICATION on March 18, 2016:

Removed

Added

The defendant shall participate in the location monitoring program with Active Global Positioning
Satellite (GPS) technology. The defendant is restricted to his/her residence at all times except for
employment, religious services, medical, legal reasons, or as otherwise approved by the location
monitoring specialist. The defendant shall abide by all program requirements, and must contribute
towards the costs of the services to the extent financially able, as determined by the location monitoring
specialist. The location monitoring specialist will coordinate the defendant's release with the U.S.
Marshals

The defendant shall participate in the location monitoring program with Active Global Positioning
Satellite (GPS) technology. The defendant shall comply with a curfew as directed by the location
monitoring specialist. The defendant shall abide by all program requirements, and must contribute
towards the costs of the services, to the extent financially able, as determined by the location
monitoring specialist.

The defendant shall participate as directed in the Moral Reconation Therapy program approved by the
United States Probation and Pretrial Services Office. The defendant must contribute towards the cost of
any programs, to the extent the defendant is financially able to do so, as determined by the U.S.
Probation Officer, including participation and successful completion of United States

Pretrial Services' Moral Reconation Therapy program.

 

PETITIONING THE COURT
To issue a warrant under seal

The Probation Officer believes that the defendant has violated the following conditions of supervision:

 

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Petition for Warrant for Defendant Under Pretrial Services Supervision May 2, 2016

Nature of Noncompliance

l. Maziar Rezakhani has violated the condition of bond requiring that he not commit any federal, state, or
local crime during his period of release, by committing the crime of Unlawful Imprisonment, on or
about May 1, 2016, in King County, Washington.

2. The defendant violated the special condition requiring he comply with the location monitoring program

by leaving his residence and removing the GPS tracking device without approval on or about May l,
20 l 6.

We incorporate by reference the information contained in the attached memorandum

U.S. Probation Officer Recommendation:

IIssue a warrant

Detention pending final adjudication due to:
Risk of nonappearance
Danger to community

The U.S. Attomey’s Office has been notified of this violation and concurs with the recommendation
I declare under penalty of perjury that the foregoing is true and correct.
Executed on this 2nd day of May, 2016.

APPRovED; M»/%¢~

Connie Smith Gina L. Martinis

Chief U.S. Probation and U.S. Probation Officer
Pretrial Services Of`ficer

BY:
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Julie M. Busic

Supervising U.S. Probation Officer
THE COURT FINDS PROBABLE CAUSE AND DIRECTS:

 

 

g The Issuance of a Warrant under seal (conditions of supervision shall remain in effect pending final
adjudication)

|:l The Issuance of a Summons (conditions of supervision shall remain in effect pending final adjudication)

I:l Other

Mary Alice Theiler,
United States Magistrate Judgey

wa az, aaa

 

v Date

 

